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                                         Certificate Number: 15111-RI-DE-023323725
                                         Bankruptcy Case Number: 14-10661


                                                       15111-RI-DE-023323725




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on May 2, 2014, at 5:39 o'clock PM EDT, Karen Maria
Abbondanza De La Motte completed a course on personal financial management
given by internet by BE Adviser, LLC, a provider approved pursuant to 11 U.S.C.
§ 111 to provide an instructional course concerning personal financial
management in the District of Rhode Island.




Date:   May 2, 2014                      By:      /s/Ryan McDonough


                                         Name: Ryan McDonough


                                         Title:   Executive Director of Education
